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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND


VELMAM.         MELTON,

        Plaintiff,

        v.
                                                          Civil Action No. TDC-19-0209
 SELECT PORTFOLIO SERVICING, INC.
 and STERLING JEWELERS, INC.
 dba Jared-Galleria of Jewelry,

        Defendants.



                                             ORDER

       On January 21,2020, Plaintiff filed a Notice ofIntent to file a Motion for Clarification of

the Court's January 8, 2020 Order pursuant to Federal Rules of Civil Procedure 59(e), 60(b)(l),

and 60(b)(6).   ECF No. 110. Upon the Court's review of the Notice, the Court states that its

January 8, 2020 Order did not decide whether or not prior complaints may be admitted at trial.

Accordingly, there is no need for the proposed Motion to be filed at this time.



Date: January-a.12020
                                                     THEODORE D. CHUA:
                                                     United States District J
